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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

LAW OFFICES OF BEN C. MARTIN,                   §
LLP, and BEN C. MARTIN,                         §
Individually,                                   §
                                                §
         Plaintiffs,                            §
                                                §
v.                                              §             3-06-CV1440-AH
                                                §                       ECF
DENNIS C. SWEET III, PA AND                     §
ASSOCIATES, SWEET AND FREESE,                   §
PLLC, DENNIS C. SWEET, III,                     §
Individually, THE FREESE LAW FIRM,              §
P.C., RICHARD FREESE, Individually,             §
                                                §
         Defendants.                            §

______________________________________________________________________________

                               JUDGMENT AND
                   ORDER OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

         On this day came on to be heard the Agreed Motion to Dismiss with Prejudice filed by

Plaintiffs Law Offices Of Ben C. Martin, LLP, and Ben C. Martin, Individually, and Defendants

Dennis C. Sweet III, PA and Associates, Sweet and Freese, PLLC, Dennis C. Sweet, III,

Individually, The Freese Law Firm, P.C., and Richard Freese, Individually, (collectively, the

“Parties”). The Court, after having reviewed the Agreed Motion to Dismiss and noting that the

Parties have compromised and settled all matters in controversy herein, hereby finds that the

Agreed Motion to Dismiss should be granted.

         IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that all claims asserted

between the Parties are hereby dismissed with prejudice to refiling of same.




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         IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all costs of court are

taxed against the party incurring same.

         DATED this 31st day of March, 2009.




                                           _____________________________________
                                           WM. F. SANDERSON, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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